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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                                          :
IN RE: NATIONAL FOOTBALL                  :       No. 2:12-md-02323-AB
LEAGUE PLAYERS’ CONCUSSION                :
INJURY LITIGATION                         :       MDL No. 2323
                                          :
                                          :
THIS DOCUMENT RELATES TO:                 :
Plaintiffs’ Amended Master Administrative :
Long-Form Complaint and the Applicable :
Associated Short-Form Complaints          :
                                           :


                                   [PROPOSED] ORDER


       AND NOW, upon consideration of the Riddell Defendants’ Motion to Dismiss Based

on LMRA § 301 Preemption (ECF No. 3592), Plaintiffs’ response in opposition thereto, and

Riddell Defendants’ reply, it is hereby ORDERED that for the reasons set forth in the

accompanying Memorandum Opinion, the Motion is DENIED.


      It is so ORDERED.


                                                  Anita B. Brody

______________________________                    __________________________
            Date                                  United States District Judge


Copies VIA ECF on ___________to:                  Copies MAILED on ________ to:
